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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                      CRIMINAL ACTION
v.                                          )
                                            )                      No. 07-20167-14-KHV
EDWARD QUINCY POTTS,                        )
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       Defendant pled guilty to conspiracy to manufacture, to possess with intent to distribute and

to distribute 50 grams or more of cocaine base and to possess with intent to distribute five kilograms

or more of cocaine, in violation of 21 U.S.C. § 846. The Court sentenced defendant the statutory

minimum sentence of 120 months in prison. On March 15, 2010, the Court overruled defendant’s

motion to vacate his sentence under 28 U.S.C. § 2255. See Memorandum And Order (Doc. #628).

This matter is before the Court on defendant’s Motion For Reconsideration (Doc. #631) filed

March 29, 2010. For reasons stated below, the Court overrules defendant’s motion.

                                         Legal Standards

       A court has discretion whether to grant a motion to reconsider. Brumark Corp. v. Samson

Res. Corp., 57 F.3d 941, 944 (10th Cir. 1995). The Court may recognize any one of three grounds

justifying reconsideration: an intervening change in controlling law, availability of new evidence,

or the need to correct clear error or prevent manifest injustice. See Major v. Benton, 647 F.2d 110,

112 (10th Cir. 1981); Burnett v. W. Res., Inc., 929 F. Supp. 1349, 1360 (D. Kan. 1996); D. Kan.

Rule 7.3(b). A motion to reconsider is not a second opportunity for the losing party to make its

strongest case, to rehash arguments or to dress up arguments that previously failed. See Voelkel v.
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Gen. Motors Corp., 846 F. Supp. 1482, 1483 (D. Kan.), aff’d, 43 F.3d 1484 (10th Cir. 1994). Such

motions are not appropriate if movant only wants the Court to revisit issues already addressed or to

hear new arguments or supporting facts that could have been presented originally. See Van Skiver

v. United States, 952 F.2d 1241, 1243 (10th Cir. 1991), cert. denied, 506 U.S. 828 (1992).

                                      Factual Background

       On February 17, 2009, pursuant to a plea agreement, defendant pled guilty to conspiracy to

manufacture, to possess with intent to distribute and to distribute 50 grams or more of cocaine base

and to possess with intent to distribute five kilograms or more of cocaine. See Petition To Enter Plea

Of Guilty And Order Entering Plea (Doc. #362). On February 24, 2009, defendant filed a pro se

motion to withdraw his guilty plea. See Doc. #369. Defendant alleged that he had entered his plea

under pressure and did not fully understand what he was signing. See id. In particular, he alleged

that his attorney had not discussed the evidence against him and that he was only responsible for

acting as a middle man for one phone call involving the shipment of two kilograms of cocaine. See

id. At the hearing on defendant’s pro se motion, defendant decided to withdraw the motion. See

Clerk’s Courtroom Minute Sheet (Doc. #379) filed April 2, 2009.

       Defendant’s total offense level was 29, with a criminal history category II, resulting in a

guideline range of 97 to 121 months. Because the statutory minimum was 120 months, the

sentencing range was 120 to 121 months in prison. Defendant objected to the calculation of drug

quantity in the Presentence Investigation Report (“PSIR”). Because defendant’s objections did not

impact the statutory minimum sentence of 120 months, the Court overruled defendant’s objections

as moot and sentenced defendant to 120 months in prison. See Judgment In A Criminal Case (Doc.

#490) filed July 8, 2009. Defendant did not appeal. Daniel J. Ross represented defendant


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throughout this proceeding.

       On February 22, 2010, defendant filed a pro se motion to vacate his sentence under 28 U.S.C.

§ 2255. Liberally construed, defendant’s motion and memorandum alleged that Mr. Ross was

ineffective because (1) he did not conduct a reasonable pretrial investigation or develop a defense

strategy, (2) he coerced defendant to plead guilty and misinformed defendant that he would receive

a sentence of less than 120 months in prison, (3) he failed to adequately raise and preserve

objections to drug quantity at sentencing and (4) he did not consult with defendant about a possible

appeal. On March 15, 2010, the Court overruled defendant’s motion without an evidentiary hearing

or response by the government.1 See Memorandum And Order (Doc. #628).

       Defendant asks the Court to reconsider its order which overruled his Section 2255 motion.

The government has filed a response and asserts that in the plea agreement, defendant voluntarily

waived his right to file a Section 2255 motion.

                                              Analysis

       The standard of review of Section 2255 petitions is quite stringent. The Court presumes that

the proceedings which led to defendant’s conviction were correct. See Klein v. United States, 880

F.2d 250, 253 (10th Cir. 1989). To prevail, defendant must show a defect in the proceedings which

resulted in a “complete miscarriage of justice.” Davis v. United States, 417 U.S. 333, 346 (1974).



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                In his motion, defendant raised three claims which do not relate to his case: (1) that
counsel was ineffective because he pressured defendant to plead guilty without a plea agreement,
see Motion To Vacate (Doc. #624) at 5, (2) that counsel was ineffective because he filed an Anders
brief on direct appeal, see id. at 8, and (3) that counsel was ineffective because he continued to
represent defendant under a conflict of interest after he had filed a motion to withdraw as counsel,
see id. Here, defendant pled guilty pursuant to a plea agreement, he did not file an appeal and his
counsel did not file a motion to withdraw. Because defendant did not explain how these claims
relate to his case, the Court overruled them.

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I.     Procedural Bar – Waiver Of Collateral Challenges (Claims 1, 3 and 4)

       In its initial order which denied defendant’s Section 2255 motion, the Court did not address

the waiver of collateral challenges in the plea agreement because the Court did not require the

government to respond to defendant’s Section 2255 motion. In response to defendant’s motion to

reconsider, the government has raised the waiver in the plea agreement. Defendant has not

responded to the government’s assertion of the plea waiver. A knowing and voluntary waiver of the

statutory right to appeal or to collaterally attack a sentence is generally enforceable. United States

v. Chavez-Salais, 337 F.3d 1170, 1172 (10th Cir. 2003); United States v. Cockerham, 237 F.3d 1179,

1181 (10th Cir. 2001), cert. denied, 534 U.S. 1085 (2002); United States v. Hernandez, 134 F.3d

1435, 1437 (10th Cir. 1998).       The Court applies a three-pronged analysis to evaluate the

enforceability of such a waiver: (1) whether the disputed issue falls within the scope of the waiver;

(2) whether defendant knowingly and voluntarily waived his rights; and (3) whether enforcing the

waiver would result in a miscarriage of justice. United States v. Hahn, 359 F.3d 1315, 1325 (10th

Cir. 2004) (en banc); see United States v. McMillon, No. 02-20062-01-JWL, 2004 WL 2660641, at

*3 (D. Kan. Nov. 19, 2004).

       A.      Scope of the Waiver

       To determine whether the disputed issue falls within the scope of the waiver, the Court begins

with the plain language of the plea agreement. United States v. Anderson, 374 F.3d 955, 957 (10th

Cir. 2004); Hahn, 359 F.3d at 1328. The Court construes the plea agreement according to contract

principles and based on what defendant reasonably understood when he entered the plea. United

States v. Arevalo-Jimenez, 372 F.3d 1204, 1206 (10th Cir. 2004). The Court strictly construes the

waiver and resolves any ambiguities against the government and in favor of defendant. Hahn, 359



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F.3d at 1343.

       The plea agreement states in relevant part as follows:

                14.     Waiver of Appeal and Collateral Attack. Defendant knowingly
       and voluntarily waives any right to appeal or collaterally attack any matter in
       connection with this prosecution, conviction and sentence (including the length and
       conditions of supervised release, as well as any sentence imposed upon a revocation
       of supervised release). The defendant is aware that Title 18, U.S.C. § 3742 affords
       a defendant the right to appeal the conviction and sentence imposed. By entering
       into this agreement, the defendant knowingly waives any right to appeal a sentence
       imposed which is within the guideline range determined appropriate by the court.
       The defendant also waives any right to challenge a sentence or otherwise attempt to
       modify or change his sentence or manner in which it was determined in any
       collateral attack, including, but not limited to, a motion brought under Title 28,
       U.S.C. § 2255 [except as limited by United States v. Cockerham, 237 F.3d 1179,
       1187 (10th Cir. 2001)], a motion brought under Title 18, U.S.C. § 3582(c)(2) and a
       motion under Fed. Rule of Civ. Pro 60(b). In other words, the defendant waives the
       right to appeal the sentence imposed in this case except to the extent, if any, the court
       departs upwards from the applicable sentencing guideline range determined by the
       court. However, if the United States exercises its right to appeal the sentence
       imposed as authorized by Title 18, U.S.C. § 3742(b), then the defendant is released
       from this waiver and may appeal the sentence as authorized by Title 18, U.S.C.
       § 3742(a).

Plea Agreement ¶ 14. The scope of this waiver unambiguously includes the right to collaterally

attack by a Section 2255 motion any matter in connection with defendant’s conviction or sentence.

In Cockerham, the Tenth Circuit noted that “a plea agreement waiver of postconviction rights does

not waive the right to bring a § 2255 petition based on ineffective assistance of counsel claims

challenging the validity of the plea or the waiver,” but that “collateral attacks based on ineffective

assistance of counsel claims that are characterized as falling outside that category are waivable.” 237

F.3d at 1187. In this case, defendant’s first, third and fourth claims regarding ineffective assistance

before the plea and at sentencing do not challenge the validity of the plea or waiver. Accordingly,

these claims falls within the scope of the waiver in the plea agreement. See id.




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        B.      Knowing And Voluntary Nature Of The Plea

        To ascertain whether defendant knowingly and voluntarily waived his rights, the Court

evaluates the language of the plea agreement and the plea petition, and the Rule 11 colloquy. Hahn,

359 F.3d at 1325. The Court conducted a thorough inquiry at the plea hearing. At that time

defendant affirmed that he understood the charge against him, the maximum penalties, the mandatory

statutory minimum for the offense of 10 years in prison, the rights he was waiving and the factual

basis for his plea. Defendant acknowledged that his plea was free and voluntary, that no one had

forced or threatened him to enter it, and that the only reason he was making a plea was that he was

in fact guilty as charged. Nothing in the record suggests that defendant’s plea or waiver of

post-conviction rights was unknowing or involuntary. In sum, the language of the plea agreement

and the Rule 11 colloquy established that defendant’s waiver of his rights was knowing and

voluntary.

        C.      Miscarriage Of Justice

        The Court must “determine whether enforcing the waiver will result in a miscarriage of

justice.” Id. at 1327. This test is not met unless (1) the district court relied on an impermissible

factor such as race; (2) defendant received ineffective assistance of counsel in conjunction with

negotiation of the waiver; (3) the sentence exceeds the statutory maximum; or (4) the waiver is

otherwise unlawful in the sense that it suffers from error that seriously affects the fairness, integrity

or public reputation of judicial proceedings. Id. Defendant bears the burden of demonstrating that

the waiver results in a miscarriage of justice. Anderson, 374 F.3d at 959.

        The Court finds that enforcement of the waiver does not implicate any of the four factors

listed above. In particular, defendant received the statutory minimum sentence of 10 years in prison,



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which is precisely the sentence that the Assistant United States Attorney and defense counsel

predicted (and virtually guaranteed) at the Rule 11 hearing. See United States v. Green, 405 F.3d

1180, 1193-94 (10th Cir. 2005); United States v. Porter, 405 F.3d 1136, 1144 (10th Cir.) (“statutory

maximum” under Hahn inquiry refers to statute of conviction), cert. denied, 546 U.S. 980 (2005).

Furthermore, enforcement of the waiver as to collateral challenges does not seriously affect the

fairness, integrity or public reputation of the proceedings. See United States v. Maldonado, 410 F.3d

1231, 1233-34 (10th Cir.) (waiver of appellate rights enforced where sentence did not exceed

statutory maximum and was based on judge-made findings), cert. denied, 546 U.S. 989 (2005). The

Court finds that enforcing the waiver will not result in a miscarriage of justice. In sum, defendant’s

first, third and fourth claims are barred by the waiver of collateral challenges in the plea agreement.

II.    Substantive Merit Of Defendant’s Claims

       To establish ineffective assistance of counsel, defendant must show that (1) the performance

of counsel was deficient and (2) the deficient performance was so prejudicial that there is a

“reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Strickland v. Washington, 466 U.S. 668, 687, 694 (1984). To meet the

first element, i.e. counsel’s deficient performance, defendant must establish that counsel “made

errors so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant by the

Sixth Amendment.” Id. at 687. In other words, defendant must prove that counsel’s performance

was “below an objective standard of reasonableness.” United States v. Walling, 982 F.2d 447, 449

(10th Cir. 1992). The Supreme Court recognizes, however, “a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance.” Strickland, 466 U.S. at

689; see United States v. Rantz, 862 F.2d 808, 810 (10th Cir. 1988) (citation omitted), cert. denied,


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489 U.S. 1089 (1989). As to the second element, the Court must focus on the question “whether

counsel’s deficient performance render[ed] the result of the trial unreliable or the proceeding

fundamentally unfair.” Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).

       A.      Failure To Investigate Or Develop Defense Strategy – Claim 1

       Defendant argues that the Court erred when it dismissed defendant’s claim that counsel was

ineffective for failing to conduct a reasonable pretrial investigation or develop a defense strategy.

The Court noted as follows:

               Defendant’s conclusory allegations of inadequate pretrial preparation do not
       establish deficient performance or prejudice and are insufficient to warrant an
       evidentiary hearing. See United States v. Kilpatrick, 124 F.3d 218, 1997 WL
       537866, at *3 (10th Cir. Sept. 2, 1997) (allegations of ineffective assistance must be
       specific and particularized; conclusory allegations do not warrant hearing); Hatch v.
       Oklahoma, 58 F.3d 1447, 1457, 1471 (10th Cir. 1995) (same), cert. denied, 517 U.S.
       1235 (1996). In his declaration, defendant alleges that (1) counsel never informed
       defendant of his opinion of the government evidence including the fact that the
       government had no witnesses against him, (2) counsel failed to file a motion to
       suppress the intercepted telephone calls which were the only evidence linking
       defendant to the charged offenses and (3) counsel failed to file a motion to obtain the
       minutes of the grand jury proceeding. See Declaration Of Edward Q. Potts Pursuant
       To 18 U.S.C. § 1746 (“Potts Declaration”) ¶¶ 5-10, attached to Memorandum Of
       Law (Doc. #625) filed February 22, 2010. Below, the Court addresses each of these
       claims in turn.

               Defendant argues that counsel never informed him of the strength of the
       government’s case and that the government had no witnesses against him. Defendant
       concedes that the government had evidence of telephone calls (which would of
       course involve testimony by law enforcement officers), but counsel did not inform
       him that the government had no other witnesses. Defendant has not shown that the
       government in fact lacked other witnesses who were willing to testify against him.
       Even so, based on the plea agreement and his statements at the plea hearing,
       defendant was well aware of the evidence against him and that the nature of the
       government’s case consisted primarily of electronic surveillance and physical
       surveillance of defendant’s associates.2 Defendant has not shown that counsel’s


       2
               This surveillance included a series of phone calls between defendant and Boytina
                                                                                  (continued...)

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       failure to discuss the lack of government witnesses was deficient or prejudicial (that
       is, it would have altered his decision to plead guilty).

                Defendant complains that counsel did not file a motion to suppress the
       wiretap evidence, but he has not shown any factual or legal basis for such a motion
       or that such a motion would have likely affected the outcome of the case. Only those
       motions having a solid foundation, not every possible motion, should be filed.
       United States v. Afflerbach, 754 F.2d 866, 870 (10th Cir.), cert. denied, 472 U.S.
       1029 (1985). Defendant provides no facts which would suggest that counsel’s failure
       to file a motion to suppress was deficient or prejudicial.3

               Finally, defendant argues that counsel was ineffective because he failed to
       file a motion to obtain grand jury testimony. Defendant has not identified what the
       grand jury transcripts would have revealed or how any such information would have
       changed defendant’s decision to plead guilty. Absent such information, defendant
       cannot show that counsel’s failure to obtain such transcripts was deficient or
       prejudicial.

               In sum, defendant has not shown that defense counsel’s pretrial investigation
       and case strategy was deficient or that his performance rendered the result of his
       guilty plea “fundamentally unfair.” Lockhart, 506 U.S. at 372.

Memorandum And Order (Doc. #628) at 3-5 (footnotes in original).

       Defendant argues that an evidentiary hearing was warranted because his allegations of

inadequate pretrial preparation were supported by affidavit and unrefuted by any competing



       2
        (...continued)
Locke in which defendant inquired about the availability of cocaine and discussed where and when
his associates would meet Locke. The next day, by telephone, defendant told Locke where to meet
his associates. Shortly thereafter, Locke met Rodney McNeil and Mitchell Henderson at the
designated location. McNeil and Henderson left together in a car, but officers stopped the vehicle
and found two kilograms of cocaine inside the vehicle. In addition to the electronic surveillance,
the plea agreement notes that Jeremy Jacobs was familiar with Locke’s associates including
defendant.
       3
                The Court overruled a co-defendant’s motion which argued that the government
unlawfully intercepted wire communications on two target phones because (1) the government
referred to an expired Attorney General order in the wiretap applications and (2) the government did
not establish necessity for the wiretaps. See United States v. Grigsby, No. 07-20167-09, 2009 WL
385856, at *2-5 (D. Kan. Feb. 17, 2009).

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affidavit. In his affidavit, defendant states that his attorney never informed him of the strength of

the government’s case and that the government had no witnesses in support of its case. See Doc.

#625 at 17. As explained in the prior order, defendant concedes that the government had evidence

of telephone calls (which would of course involve testimony by law enforcement officers). More

importantly, defendant has not shown that the government in fact lacked other witnesses who were

willing to testify against him. Defendant’s affidavit is conclusively refuted by the plea agreement

and his statements at the plea hearing which show that defendant was well aware of the evidence

against him and that the nature of the government’s case consisted primarily of electronic

surveillance and physical surveillance of defendant’s associates. Defendant has not shown grounds

for the Court to reconsider its conclusion that counsel’s failure to discuss the lack of government

witnesses was not deficient or prejudicial.

       B.      Advice To Plead Guilty And Sentencing Prediction – Claim 2

       Defendant argues that the Court erred when it overruled defendant’s claim that counsel was

ineffective because he erroneously told defendant that he would receive less than 120 months in

prison. Defendant argues that the Court should have granted a hearing on his claim based on his

uncontested affidavit which states that if counsel had advised him that his sentence would likely be

at least 120 months, he would have gone to trial and not pled guilty. Defendant ignores the fact that

his claim is conclusively refuted by his sworn statements at the plea colloquy and in the plea

petition. First, he cannot establish that counsel was deficient because he specifically admitted at the

change of plea hearing that no one made any promise or guarantee about his sentence. Absent a

believable reason justifying departure from their apparent truth, the accuracy and truth of an

accused’s statements at a Rule 11 proceeding at which his plea is accepted are conclusively

established. United States v. Glass, 66 Fed. Appx. 808, 810 (10th Cir. June 3, 2003); United States


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v. Jones, 124 F.3d 218, 1997 WL 580493, at *1 (10th Cir. Sept.19, 1997); United States v.

Bambulas, 571 F.2d 525, 526 (10th Cir. 1978). In any event, defendant cannot establish prejudice.

Defendant has not shown a reasonable probability that but for counsel’s prediction, the results of the

plea proceeding would have been different, i.e. that he would not have agreed to plead guilty. See

United States v. Young, 206 Fed. Appx. 779, 785 (10th Cir. 2006); Rantz, 862 F.2d at 810-11. At

the plea hearing, Judge Lungstrum fully explained that the mandatory statutory minimum for the

offense was 10 years in prison and that unless he were to qualify under one of the few exceptions

that the law recognizes, the Court simply had no power to give him a sentence shorter than 10 years

in prison. See United States v. Gordon, 4 F.3d 1567, 1571 (10th Cir. 1993) (no prejudice from

attorney miscalculation because court explained that its calculation may differ from attorney’s

calculation and that it would consider factual data relating to any counts dismissed or about to be

dismissed); Doganiere v. United States, 914 F.2d 165, 168 (9th Cir. 1990) (attorney sentence

miscalculation does not result in prejudice where court had explained that it retained discretion as

to what sentence would be), cert. denied, 499 U.S. 940 (1991). The plea petition and plea agreement

also notified defendant that the mandatory minimum sentence was 10 years in prison. See Petition

To Enter Plea Of Guilty And Order Entering Plea (Doc. #362) filed February 17, 2009 ¶ 10; Plea

Agreement ¶ 1, attached to Petition (Doc. #362). Judge Lungstrum further explained that the

government had discretion to determine whether defendant had provided substantial assistance and

that absent a government motion, the Court lacked authority to give defendant a sentence below the

mandatory statutory minimum. After being informed multiple times about the statutory minimum,




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defendant pled guilty.4 Defendant has not shown grounds for the Court to reconsider its ruling as

to defendant’s second claim.

         C.     Failure To Adequately Present Objections At Sentencing – Claim 3

         Defendant argues that the Court erred when it overruled his claim that counsel was

ineffective because he did not adequately object to the calculation of drug quantity in the PSIR, that

he did not object to the Court’s summary denial of his objections and he did not ask to have his

argument “on the record” for appellate review. The Court held that counsel’s failure to argue further

on the issue was not deficient or prejudicial because the objections to drug quantity did not impact

the statutory minimum sentence of 120 months. In his motion to reconsider, defendant raises a new

argument that counsel failed to object to drug quantity immediately following the indictment. See

Motion For Reconsideration (Doc. #631) at 5. The Court overrules that claim because defendant

did not raise it in his initial motion. In any event, the waiver of collateral challenges in the plea

agreement includes such a claim. On the merits, defendant has not shown a factual basis for his

argument that had counsel objected, he would have received a different plea offer or that he would

have pled guilty to a different offense which did not include a mandatory minimum sentence of

120 months in prison. The Court therefore overrules defendant’s motion to reconsider as to his third

claim.

         D.     Failure To Consult Defendant About An Appeal – Claim 4

         Defendant argues that the Court erred when it overruled his claim that counsel did not

consult with him about a possible appeal. Defendant argues that he had several non-frivolous

grounds for appeal. As explained in the prior order, based on all of the facts, reasonable counsel


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               In addition, some five weeks after his plea, defendant withdrew his claim that he
entered his plea under pressure and did not fully understand what he was signing. See Clerk’s
Courtroom Minute Sheet (Doc. #379) filed April 2, 2009.

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would believe that defendant did not have any non-frivolous issues to appeal and that defendant did

not desire to appeal. Therefore, counsel was not deficient in failing to consult defendant about a

possible appeal. See United States v. Rios-Garcia, No. 02-20104-01-KHV, 2005 WL 3845345, at

*7 (D. Kan. Dec. 8, 2005), appeal dismissed on request for certificate of appealability, 200 Fed.

Appx. 793 (10th Cir. 2006), cert. denied, 127 S. Ct. 1343 (2007); United States v. Flowers, No. 03-

3051-SAC, 2004 WL 1088767, at *8 (D. Kan. 2004). In addition, defendant has not shown a

reasonable probability that but for counsel’s deficient performance, an appeal would have been

filed.5 Defendant has not specifically identified and the Court cannot find any non-frivolous grounds

on which he could appeal in light of the waiver in the plea agreement and the minimum sentence

required by statute. The Court therefore overrules defendant’s motion to reconsider as to his fourth

claim.

III.     Certificate of Appealability

         Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255 Proceedings

states that the Court must issue or deny a certificate of appealability when it enters a final order

adverse to the applicant. The Court therefore addresses the issue in this order. “A certificate of

appealability may issue . . . only if the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2).6 To satisfy this standard, the movant must

demonstrate that “reasonable jurists would find the district court’s assessment of the constitutional


         5
               The Court does not presume prejudice in these circumstances. That presumption only
applies where counsel disregards a defendant’s specific instructions to file an appeal. See Roe v.
Flores-Ortega, 528 U.S. 470, 477, 484-85 (2000); United States v. Snitz, 342 F.3d 1154, 1155-56
(10th Cir. 2003). Here, defendant does not allege that he asked counsel to file an appeal, but rather
that counsel did not consult with him about the possibility of an appeal.
         6
                 The denial of a Section 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C.
§ 2253(c)(1).

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claims debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting

Tennard v. Dretke, 542 U.S. 274, 282 (2004)). For reasons stated in the Memorandum And Order

(Doc. #628) and those stated above, the Court finds that defendant has not made a substantial

showing of the denial of a constitutional right. The Court therefore denies a certificate of

appealability as to its ruling on defendant’s Section 2255 motion.

       IT IS THEREFORE ORDERED that defendant’s Motion For Reconsideration (Doc. #631)

filed March 29, 2010 be and hereby is OVERRULED.

       IT IS FURTHER ORDERED that a certificate of appealability as to the ruling on

defendant’s Section 2255 motion, see Memorandum And Order (Doc. #628), is DENIED.

       Dated this 10th day of June, 2010, at Kansas City, Kansas.

                                             s/ Kathryn H. Vratil
                                             KATHRYN H. VRATIL
                                             United States District Judge




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